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1 IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

WN

4 GARY BRICE McBAY,

Plaintiff,
°
6 VERSUS CIVIL ACTION NO: 1:07cv1l205LG-RHW

HARRISON COUNTY, MISSISSIPPI,

8 by and through its Board of
Supervisors; HARRISON COUNTY

9 SHERIFF, George Payne, in his

official capacity; CORRECTIONS

10 OFFICER MORGAN THOMPSON,
acting under color of state law,

11 Defendants. .

DEPOSITION OF GARY BRICE MCBAY

14
15 Taken at the offices of Brown Buchanan, '
P.A., 796 Vieux Marche' Mall, Suite 1, i
16 Biloxi, Mississippi, on Tuesday, August
18, 2009, beginning at 12:30 p.m. :
17 /
18 |
APPEARANCES: /
19 :
PATRICK R. BUCHANAN, ESQUIRE i
20 | Brown Buchanan, P.A. :
796 Vieux Marche’ Mall, Suite 1 /
21 Biloxi, Mississippi 39530
ATTORNEY FOR PLAINTIFF
22
JOE C. GEWIN, ESQUIRE
23 HALEY BROOM, ESQUIRE
Dukes, Dukes, Keating & Faneca, P.A.
24 2909 13th Street, Sixth Floor
Gulfport, Mississippi 39501
25 ATTORNEYS FOR GEORGE PAYNE, JR.

SIMPSON BURDINE & MIGUES (228) 388-3130
E-mail: Imigues@sbmreporting.com
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Q. Do you know where else you would have
been hit?
A. I don't recall.

Do you remember coming out of the

A. No.

Q. Okay. Did your attorney show you the

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0

videotape of the booking area?
9 A. Yes, sir.
10 Q. So if you remember something today,
11 could it be because of looking at that video?
12 A. No, sir.
13 Q. You remember that one part right in the
14 middle, correct?

15 A. What part in the middle?

SESS EAT ESB NUT SOAN NTN SSO CEREBRO TE EER ORSON

SAE NE

16 Q. In the shower being beat.

17 A. Right.

18 Q. And do you remember what you were saying
19 or doing at the time?

20 A. Please, no more.

Do you remember anything else you said?
No, sir.

Q
A
23 Q. Were you cursing the officers?
A T don't recall.

Q

Do you remember just making noises and

TTS eo ee SS ENUMERATE eS ED EI LTE TH ETE UT TE EE EE TEI EEE OD SE TE TTS STR EE TE RSC REE TB TE EE LER ER RED HED RTE A ONE A

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Oh, man. I don't recall his name.
Was he a local doctor?

DeSoto.

You don't remember his name?

No, Sir.

Was he just a family doctor?

IT believe so.

oOo wa nD OD Fe WW NO FH
» oO + O FY O B

QO. Have you ever been to any kind of
9 facility for detox?
10 A. Yes, sir.
How many times?
I don't recall, sir.
Is it the same place every time?

No.

hb
QW
Oo PP Oo FP O

Well, name me the places that you've
16 been for the detox.
IT don't remember their name.

What state were they in?

Ses eSATA ISTE ENR OTS OEND

Texas.

Fa RL

A
Q
A
20 . Q. Were they near your hometown?
A Near, yes.
Q You don't remember any of them? :
A I don't remember the names.

24 Q. When did that -- what point in your life

25 did that start?

TN NEE LIES A ESSEC ETE RDO GO HATO BAC SS OSU TSH Bt DERE ED ON ELT EEN ET EN TEA VES HEE ER SEN RN SE RAL SBE TEER SO A ASA A cH OH E SEAT TER CS BATRA ERED REESE DETER ER CH ID BERS E EERE

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